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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION

UNITED STATES OF AMERICA               :
                                       :
v.                                     :      Criminal Action No.
                                       :      3:21-CR-0004-TCB-RGV
ROBERT PURBECK                         :

                      MOTION TO COMPEL DISCOVERY

      Mr. Purbeck respectfully moves for a Court Order to compel the following

items of discovery be produced by the government:

1.    Unredacted copies of all applications for search warrants in this case. The

redacted copies of the warrant applications are filed under seal as Exhibits F, M, N,

O, and P. The government has advised defense counsel that they will not produce

unredacted copies to the defense because the redacted portions hide the identity of

an FBI source. There is also an audio presentation of probable cause that relates to

Exhibit F (the search warrant for Mr. Purbeck’s home) that is also partially

redacted. The government likewise has declined to produce the audio recording

without the redaction. Mr. Purbeck needs the unredacted search warrant

applications, and audio presentation, to properly prepare his motions to suppress

and raise any other matters that are appropriate for his defense.

2.    Any and all Miranda forms (or other advisement of legal rights forms)

signed by Mr. Purbeck. The government has advised defense counsel that no such
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forms exist. Mr. Purbeck has submitted a sworn declaration stating that he signed

such a form that was given to him by the FBI agents, who also signed it. See

Exhibit A to Notice of Filing, at ¶ 28.

3.    Any and all recordings of the government’s interactions with Mr. Purbeck

on August 21, 2019 and/or any and all recordings of the government’s activities on

August 21, 2019 while at Mr. Purbeck’s home. The government has advised

defense counsel that no such recordings exist. Mr. Purbeck has submitted a sworn

declaration stating that he saw the government agents recording their interactions

with him on August 21, 2019. See Exhibit A to Notice of Filing, at ¶ 13.

4.    Any and all email (or other) communications between Mr. Purbeck and the

online person commonly known as “Dissent.” Mr. Purbeck has requested those

communications from the government, and the government has agreed to provide

them. As far as Mr. Purbeck has been able to discern, those communications have

not been provided as yet. On this topic, an affirmation by the government that they

will be producing those communications forthwith will suffice for the defense’s

purposes.




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Respectfully submitted, this 13th day of December, 2021.



            /s/ Andrew C. Hall________________
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          CERTIFICATE OF COMPLIANCE WITH TYPE AND FONT
                        AND CERTIFICATE OF SERVICE


       I hereby certify that this motion has been prepared in Courier New font (13
pt.) and consistent with the Local Rules of this Court.

       I further hereby certify that I have this date caused a true and correct copy of
the foregoing MOTION TO COMPEL DISCOVERY
with the Clerk of Court using the ECF System and by separately emailing the filing
to:

      Assistant United States Attorney Michael Herskowitz and Nathan Kitchens


      This the 13th day of December, 2021.


                                        /s/ Andrew C. Hall
                                        Andrew C. Hall




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